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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                      Case No. 10-20896-CR-LENARD/O’SULLIVAN


  UNITED STATES OF AMERICA,

        Plaintiff,

  v.

  QUARTAVIOUS DAVIS

       Defendant.
  __________________________/

                           REPORT AND RECOMMENDATION

        This matter came before the Court pursuant to Defendant Davis’ Motion to

  Suppress Statements (DE#125, 6/1/11) and Defendant Davis’ Motion to Suppress

  Physical Evidence (DE# 126, 6/1/11). Having held an evidentiary hearing on August 18,

  2011 and August 23, 2011 and carefully considered the defendant’s motions, the court

  file and applicable law, the undersigned respectfully recommends that Defendant Davis’

  Motion to Suppress Statements (DE#125, 6/1/11) and Defendant Davis’ Motion to

  Suppress Physical Evidence (DE# 126, 6/1/11) be DENIED.

                                      BACKGROUND

        The defendant was charged by superseding indictment with conspiracy to

  commit Hobbs Act robbery, in violation of Title 18, United States Code, Section

  1951(a), Hobbs Act robbery in violation of Title 18, United States Code, Section 1951(a)

  and 2 and possession of a firearm in furtherance of a crime of violence in violation of

  Title 18, United States Code, Section 924(c)(1)(A)(ii) and 2. See Superseding

  Indictment (DE# 39, 2/22/11).
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        On June 1, 2011, the defendant filed motions to suppress statements he made

  during his post-arrest interview on December 23, 2010, photographs of his hand1 and a

  DNA sample taken by law enforcement. See Defendant Davis’ Motion to Suppress

  Statements (DE#125, 6/1/11); Defendant Davis’ Motion to Suppress Physical Evidence

  (DE# 126, 6/1/11). The government initially argued that the Defendant Davis’ Motion to

  Suppress Statements (DE#125, 6/1/11) should be denied as moot because the

  government did not intend to introduce the defendant’s statements against the

  defendant in the government’s case-in-chief. See Government’s Response to

  Defendant’s Motion to Suppress Statements (DE# 137, 6/16/11). The government

  subsequently filed an amended response indicating that it would use the defendant’s

  statements in cross-examination or in rebuttal. See Government’s Amended Response

  to Defendant’s Motion to Suppress Statements (DE# 143, 6/24/11). The government

  filed its response to the second motion to suppress on June 24, 2011. See

  Government’s Response to Defendant’s Motion to Suppress Physical Evidence (DE#

  142, 6/24/11). The government also filed a Notice of Supplemental Authority in Support

  of the Government’s Response to Defendant’s Motion to Suppress Physical Evidence

  (DE# 156, 7/5/11). No reply was filed.

        On August 19, 2011, the undersigned held an evidentiary hearing. The



        1
           There were two photographs taken of the defendant’s hand. The first was taken
  in the interview room during the defendant’s interview. The second photograph was
  taken after the defendant consented to providing a DNA sample. The government has
  stated that it will not seek to introduce the first photograph. Thus, the only photograph
  at issue is the second photograph.

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  undersigned admitted the government’s Exhibits 1 through 11 and the defendant’s

  exhibits 101 through 103 into evidence. The government presented the testimony of

  Detective Jose De La Paz, Detective Fred Anderson and Sergeant Edward McCardle.

  The defendant called psychologist Heather Holmes2 and Detective Mark Copley. The

  defendant also testified on his own behalf. The defendant’s counsel objected to the

  government questioning the defendant on matters related to the underlying charged

  offenses.

        The undersigned allowed the government and the defendant to submit

  supplemental briefs regarding the scope of the government’s cross-examination of the

  defendant at the suppression hearing. On August 22, 2011, the government and the

  defendant submitted supplemental briefs. See Defendant Davis’ Memorandum on

  Suppression Hearing Fifth Amendment Issues (DE# 178, 8/22/11); Government’s Brief

  on Scope of Cross-examination at Suppression Hearing (DE# 179, 8/22/11). On August

  23, 2011, the undersigned issued an Order determining that the government was

  permitted to cross-examine the defendant on matters related to the underlying charged

  offenses for purposes of attacking the defendant’s credibility. See Order (DE# 187,

  8/23/11).

        The undersigned resumed the evidentiary hearing on August 23, 2011. Pursuant

  to the undersigned’s prior ruling, see Order (DE# 187), the government questioned the

  defendant on facts related to the underlying charged offenses. In response to each


        2
         The government stipulated to Dr. Holmes’ expertise in the field of forensic
  psychology at the August 19, 2011 evidentiary hearing.

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  question, the defendant asserted his Fifth Amendment privilege against self-

  incrimination. The undersigned ordered the defendant to respond to each question.

  Each time, the defendant refused. In light of the defendant’s refusal to answer the

  questions, the government terminated its cross-examination of the defendant. The

  undersigned allowed the parties to submit additional supplemental briefs on the issues

  of inevitable discovery and DNA collection. See Order (DE# 186, 8/23/11). The

  undersigned further ordered the government to file a notice indicating whether it would

  seek a ruling from Judge Lenard on the defendant’s contempt or whether it would prefer

  that the undersigned issue a Report and Recommendation without taking into

  consideration the Fifth Amendment issue. On August 24, 2011, the government filed a

  notice indicating that it would not be pursuing the contempt matter further. See

  Government's Notice of Intention Not to Pursue Further Cross-Examination of the

  Defendant. The parties filed their second supplemental briefs on August 27, 2011 and

  August 31, 2011. See Defendant Davis’ Supplemental Memorandum on Suppression

  Hearing Rebuttal Issues (DE# 194, 8/27/11); Government’s Response to Defendant’s

  Supplemental Memorandum (DE# 199, 8/31/11). This matter is now ripe for

  consideration.

                                     FINDINGS OF FACT

        On September 25, 2010, four individuals robbed a beauty salon and a

  taekwondo school in a strip mall in Miami-Dade County, Florida. A witness obtained the

  tag of the getaway vehicle and police issued a BOLO3 alert for the vehicle. The vehicle



        3
            A “BOLO” is an acronym for “be on the look out.”

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  was located a short time later. Police recovered a t-shirt from the vehicle. A victim

  identified the t-shirt as worn by one of the robbers during the robbery. Police submitted

  the t-shirt for DNA testing and obtained a DNA profile. See Government’s Exhibit 5. The

  DNA profile did not match any of the individuals in the CODIS4 system.

         Police spoke to the owner of the vehicle who stated that she lent the vehicle to

  her boyfriend, Jahmal Martin. Mr. Martin is a co-defendant in the instant case. The

  owner of the vehicle also stated that Mr. Martin was in contact with Jamarquis Reid and

  Willie Smith. Mr. Reid and Mr. Smith are co-defendants in this case.

         Police interviewed Mr. Reid and Mr. Smith in connection with the robberies. Mr.

  Reid and Mr. Smith stated that they committed the robberies and that the driver of the

  getaway vehicle was Jahmal Martin. They did not identify the fourth robbery suspect.

  Police were able to determine that the DNA obtained from the t-shirt did not belong to

  Messrs. Martin or Reid. See Government’s Exhibit 5. Police later determined that the

  DNA obtained from the t-shirt did not belong to Mr. Smith. See Government’s Exhibit 7.

         On or about October 1, 2010, a robbery occurred at a jewelry store in Broward

  County, Florida. The robbery was committed by four individuals. Two of the robbers

  used sledge hammers to break glass casings. The robbers left bloodstains inside the

  jewelry store. A stolen BMW was used as the getaway vehicle. The robbers left

  bloodstains on the backseat of the BMW. Police were able to obtain DNA profiles for

  two individuals from the bloodstains recovered from the jewelry store and the BMW. A

  DNA profile suggested that one of the bloodstains recovered from the BMW could


         4
          CODIS is the Combined DNA Index System. CODIS stores DNA profiles of
  individuals with a felony past.

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  belong to Michael Martin. See Government’s Exhibit 9. The other DNA profile obtained

  from the bloodstains matched the DNA profile obtained from the t-shirt worn by the

  unidentified suspect in the September 25, 2010 robberies. Id.

         Miami-Dade Police Detective Jose De La Paz investigated the September 25,

  2010 robberies at the beauty salon and the taekwondo school. After learning of the

  DNA profile match, Detective De La Paz contacted Broward Sheriff’s Office Detective

  Fred Anderson, the detective investigating the jewelry store robbery. Detective

  Anderson informed Detective De La Paz that co-defendant Michael Martin had been

  arrested on or about November 23, 2010 in connection with the jewelry store robbery.

  Mr. Martin told police that he was involved with the jewelry store robbery along with

  Jamarquis Reid, Sylvester Fisher and the defendant. Mr. Martin further stated that

  himself, Mr. Fisher and the defendant entered the jewelry store and that the defendant

  carried a sledgehammer. Police also showed Mr. Martin surveillance video from the

  jewelry store robbery. Mr. Martin identified for police the individuals shown on the

  surveillance video. The video shows the defendant breaking glass casings with the

  sledgehammer. The video also shows Mr. Martin and Mr. Davis getting into the

  backseat of the BMW where the bloodstains were found.

         Based on Mr. Martin’s statement, the defendant was arrested on December 23,

  2010 pursuant to an arrest warrant issued by a judge. On that day, the defendant was

  taken to an interview room at the Broward Sheriff’s Office.5 The walls of the interview

  rooms at the Broward Sheriff’s Office are padded to improve the sound quality of the

         5
           The defendant testified that at the time of his arrest, he had not slept for days.
  Additionally, the defendant testified that the had smoked four “joints” of marijuana just
  prior to his arrest.

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  recording equipment. The interview room was similar to other interview rooms at the

  Broward Sheriff’s Office.

        Detective De La Paz, Detective Anderson and Detective Mark Copley

  interviewed the defendant. The defendant was handcuffed and his feet were shackled

  for most of the interview.6 The interview began at 12:57 PM and ended at 4:15 PM. No

  other detectives were in the room with the defendant. At times during the interview,

  some or all of the detectives stepped out of the interview room. The detectives left the

  defendant alone for approximately 21 minutes from 2:45 PM to 3:06 PM. The detectives

  offered the defendant food and something to drink. The defendant refused both. The

  detectives did not hit or threaten the defendant.

        The defendant’s interview was audio and video recorded. See Government’s

  Exhibit 1; Defendant’s Exhibit 101. At the outset, the detectives discussed the

  defendant’s background with the defendant. The defendant stated that he did not finish

  high school. The defendant was asked whether he would speak to the detectives

  without an attorney. The defendant responded “nope.” Notwithstanding the defendant’s

  response and in violation of the defendant’s Miranda5 rights, Detective Anderson

  continued the interview by asking the defendant if there was a reason he would not

  speak to the detectives. The defendant then responded that he would speak to the

  detectives. The detectives proceeded with the interview. All three detectives knew that

  the interview should have stopped when the defendant stated that he would not speak



        6
         Detective Copely removed the shackles from the defendant’s feet at
  approximately 3:07 PM.
        5
            Miranda v. Arizona, 384 U.S. 436, 444 (1966).

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  without an attorney present. They proceeded with the interview because they believed

  they could obtain information from the defendant that could be used against the co-

  defendants. During the interview, the defendant stated several times that he did not

  want to talk. The detectives did not stop the interview.

         The total duration of the interview was approximately three hours and 18 minutes

  including breaks. At some point during the interview, Detective Anderson told the

  defendant:

         You know that. You knew that Quat come on now keep it 100. Keep it 100
         you knew that. [A]in’t no doubt about it that you knew that. You knew it.
         Why you trying to protect them? I don’t know. Why you trying to be hard? I
         don’t know but man it’s going to bust you right across the head man and
         you going to you know when its going to hit you? When your sitting in
         prison ok and your roommate has been to prison 4 times over and he
         getting ready to punk your a** out. Then you going to be like God
         dammit . . . I could have just been sitting at home probably if I would
         have just laid it all out. Why try to protect these guys.

  Defendant’s Exhibit 101 at 91-92 (emphasis added). In using the phrase “punk your a**

  out,” Detective Anderson sought to convey to the defendant that he would have to defer

  to his more experienced cellmate6 – meaning the defendant would have to give up his


         6
            According to the defendant, the phrase “punk your a** out” indicated to the
  defendant that if he went to prison, he would be anally raped by his cellmate. The
  undersigned does not find this testimony credible for the reasons discussed below. The
  undersigned credits Detective Anderson’s testimony that the phrase “punk your a** out”
  refers to the defendant having to make concessions to a more experienced cellmate.
  See United States v. Boulette, 265 Fed. Appx. 895, 898 (11th Cir. 2008) (citing United
  States v. Ramirez-Chilel, 289 F.3d 744, 749 (11th Cir. 2002) (noting that “[c]redibility
  determinations are within the province of the fact finder ‘because the fact finder is in a
  better position than a reviewing court to assess the credibility of witnesses.’”). The
  undersigned notes that the defendant is facing a substantial term of imprisonment and
  has an interest in testifying favorably. Additionally, the defendant testified inconsistently
  at the suppression hearing. On direct examination the defendant testified that when he
  used the phrase “you have me f***ed up” at the December 23, 2010 interview he meant
  that he was confused and tired. On cross-examination the defendant admitted that the

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  telephone time or make other concessions to his cellmate.7

         During the interview, the detectives asked the defendant numerous times if he

  would provide a DNA sample. Each time, the defendant refused. During the interview,

  the detectives showed the defendant photographs of co-defendants Jamarquis Reid,

  Willie Smith, Michael Martin and Sylvester Fisher. The defendant denied knowing these

  individuals. The detectives asked the defendant if he had ever been to Broward County.

  The defendant denied ever traveling to Broward County. The detectives also asked the

  defendant if he had been in the BMW that was used as the getaway vehicle for the

  jewelry store robbery. The defendant denied ever being in a BMW.

         During the interview, the defendant was asked numerous times to provide a DNA

  sample. The defendant refused each time.8 Detective De La Paz told the defendant that

  if he provided his DNA, he would be exculpated. The detectives also told the defendant

  that if he did not provide consent, they would obtain a search warrant for his DNA. See

  Transcript of Post-Arrest Interview (DE# 183-1 at 35-36, 8/23/11). The detectives



  phrase “you have me f***ed up” meant you have me confused with a lesser man.
         7
           The defendant also testified that in November 2010, the defendant’s girlfriend
  received a visit from a police officer. The defendant’s girlfriend called the defendant and
  placed the call on mute so the defendant could hear what the police officer was saying.
  The police officer stated that the defendant was buying his girlfriend lots of expensive
  things and that the defendant was going to go to prison and become someone’s “bitch.”
  According to the defendant, the police officer suggested that if the defendant were ever
  released from prison, the defendant’s girlfriend would not want the defendant because
  the defendant would like other men. However, the defendant did not know the identity
  of this police officer who made these statements. Thus, the Court cannot attribute these
  statements to Detective Anderson.
         8
          At some point during the interview, Detective De La Paz took a photograph of
  the defendant’s hand. The government does not intend to use the photograph taken
  during the interview at trial.

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   terminated the interview because the defendant would not admit to any involvement in

   the robberies and would not implicate his co-conspirators.

           After the interview ended, Detective De La Paz left the Broward Sheriff’s Office.

   Detectives Anderson and Copley took the defendant out of the interview room and into

   a large open area in the robbery unit. The open area is divided into open spaces and

   cubicles and there are generally 50 or 60 people working in that area including civilian

   employees. The detectives sat the defendant in a chair near the desk of Sergeant

   Edward McCardle. The detectives informed Sergeant McCardle that the defendant had

   not submitted his DNA. The defendant was handcuffed and his feet were shackled.

   Detectives Anderson and Copley returned to their respective desks to complete the

   necessary paperwork so that the defendant could be transported to the Broward County

   Jail.

           Sergeant McCardle told the defendant that if he submitted his DNA, it could

   potentially clear his name. The defendant did not respond to Sergeant McCardle.

   Approximately, twenty-five to thirty minutes later, Sergeant McCardle asked the

   defendant if he wanted to give his DNA and told him it could clear his name. This time,

   the defendant agreed to provide his DNA.9

           After Sergeant Edward McCardle informed Detectives Anderson and Copley that

   the defendant had agreed to provide a DNA sample, one of the detectives obtained an

   audio recorder to put the defendant’s consent on the record. See Government’s Exhibit


           9
             The defendant testified that he did not want to give a DNA sample and did not
   want his hand photographed. He stated that he gave his consent because he thought
   that if he refused, he would continue to sit for hours until he agreed to provide his DNA.
   As indicated above, the undersigned does not find the defendant’s testimony credible.

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   3. The defendant was read the Consent to Provide DNA Sample for Lab Analysis form.

   See Government’s Exhibit 4.10 The defendant, Detective Anderson and Detective

   Copley signed the form. Detectives Anderson and Copley did not yell at the defendant

   or make threats. The form advised the defendant that he had a right to refuse consent.

   After the defendant provided his consent, Detective Anderson took a DNA sample from

   the defendant. Detective Anderson also asked the defendant if he could photograph his

   hand. The defendant consented to have his hand photographed.




         10
              The defendant presented the testimony of Dr. Heather Holmes, a psychologist.
   Dr. Holmes interviewed the defendant for one and a half to two hours. Dr. Holmes also
   spoke to the defendant’s mother by telephone and reviewed the video of the
   defendant’s interview at the Broward Sheriff’s Office on the date of his arrest. Dr.
   Holmes administered the Weschsler Adult Intelligence Scale-IV (WAIS-IV) test and the
   Rey 15-Item Test of Malingering to the defendant. Dr. Holmes found no indication of
   malingering. The defendant’s score on verbal comprehension on the WAIS-IV fell into
   the borderline range. Dr. Holmes opined that the defendant suffers from a verbal
   learning disability. Dr. Holmes noted that the defendant had been diagnosed with a
   learning disability and bipolar disorder based on information provided by the defendant
   and his mother. Dr. Holmes also noted that the defendant had been sleep deprived and
   under the influence of marijuana on the date of his interview with law enforcement
   officers based on information relayed to her by the defendant. Dr. Holmes opined that
   the defendant would not be able to understand some of the words on the consent form
   (Government’s Exhibit 4). The undersigned is not persuaded by Dr. Holmes’ testimony
   regarding the defendant’s ability to understand the consent form. The undersigned
   notes that the defendant knew the information he provided to Dr. Holmes would be
   conveyed to his defense attorney and to the Court. Additionally, the undersigned had
   an opportunity to observe the defendant both in the courtroom and on the stand during
   the two-day evidentiary hearing. The undersigned notes that the defendant had no
   difficulty responding to questions and communicating information on both direct and
   cross-examination. Additionally, the defendant appeared to understand the concept of
   DNA sampling when the issue was discussed in his videotaped/recorded interview with
   law enforcement. Thus, the undersigned finds that the defendant understood the
   consent form (Government’s Exhibit 4).

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                                            ANALYSIS

   A.     Motion to Suppress Statements (DE# 125)

          The defendant seeks to suppress the statements he gave to law enforcement

   officers during his post-arrest interview at the Broward Sheriff’s Office. The government

   concedes that the defendant’s statements were taken in violation of the defendant’s

   Miranda rights. See Government’s Amended Response to Defendant’s Motion to

   Suppress Statements (DE# 143 at 1-2, 6/24/11). Nonetheless, it argues that the

   defendant’s statements were entirely voluntary and as such the government will seek to

   use them for impeachment purposes if the defendant testifies at trial. Id. at 2.11

          Statements made in violation of Miranda are generally not admissible at trial.

   Miranda, 384 U.S. at 444. However, “[t]he shield provided by Miranda cannot be

   perverted into a license to use perjury by way of a defense, free from the risk of

   confrontation with prior inconsistent utterances.” Harris v. New York, 401 U.S. 222, 226

   (1971). Thus, “so long as they are voluntary, statements obtained in violation of a

   defendant's Fifth or Sixth Amendment right to counsel cannot be used in the

   prosecution's case-in-chief against the defendant, but may be used for impeachment

   purposes.” McGriff v. Dept. of Corrections,338 F.3d 1231, 1236 (11th Cir. 2003) (citing

   Michigan v. Harvey, 494 U.S. 344, 351-52 (1990) (Sixth Amendment); Harris v. New

   York, 401 U.S. 222, 225-26 (1971) (Fifth Amendment)); see also Oregon v. Hass, 420

   U.S. 714, 722 (1975) (holding that a defendant's statement taken in violation of Miranda

   that was nonetheless voluntary could be used at trial for impeachment purposes). An


          11
               The government has indicated that it will not use these statements in its case-
   in-chief.

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   involuntary statement, on the other hand, cannot be used by the government for any

   purpose at trial. See United States v. De Parias, 805 F.2d 1447, 1456 (11th Cir.1986),

   overruled on other grounds United States v. Kaplan, 171 F.3d 1351, 1356-57 (11th Cir.

   1999). Thus, the issue here is whether the statements made by the defendant to law

   enforcement officers during his post-arrest interview were voluntary.

          Whether a statement is voluntarily given must be examined under the totality of

   the circumstances. Schneckloth v. Bustamonte, 412 U.S. 218, 226 (1973). The

   Supreme Court has held that a defendant's statement to authorities is voluntary if it is

   “the product of a rational intellect and a free will.” Mincey v. Arizona, 437 U.S. 385, 398

   (1978) (quoting Blackburn v. Alabama, 361 U.S. 199, 208 (1960)). “Among the factors

   [the Court] must consider are the defendant’s intelligence, the length of his detention,

   the nature of the interrogation, the use of any physical force against him, or the use of

   any promises or inducements by police.” Hubbard v. Haley, 317 F.3d 1245, 1253 (11th

   Cir. 2003) (citing Bustamonte, 412 U.S. at 226; United States v. Gonzalez, 71 F.3d 819,

   828 (11th Cir.1996)). In Mincey, the Supreme Court concluded that a defendant's

   statements were not voluntarily where a police officer interrogated the defendant while

   the defendant was in the intensive care unit of the hospital, in severe pain and

   “encumbered by tubes, needles, and breathing apparatus.” Mincey, 437 U.S. at 398-99.

          In the instant case, the defendant argues that his post-arrest statements to the

   detectives were involuntary. The defendant argues that he was sleep deprived and

   under the influence of marijuana during his post-arrest interview. The undersigned finds

   that these facts are insufficient to render the defendant’s statements involuntary. See

   Hubbard, 317 F.3d at 1253 (finding that the presence of one factor – intoxication – did


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   not necessarily lead to the conclusion that the defendant’s statements were coerced).

   Here, although the defendant testified that he had smoked four “joints” of marijuana just

   prior to his arrest and had been sleep deprived, the video of the defendant’s interview

   shows that the defendant did not have trouble understanding the police officers or

   responding to their inquiries. For the most part, the defendant appears alert and

   coherent in the video.12 The defendant did not have slurred speech and did not appear

   to be intoxicated or under the influence of marijuana. See Hubbard, 317 F.3d at 1253

   (finding defendant’s statements were voluntary where “[the defendant] did not appear to

   be intoxicated or suffering from delirium tremens at the time he spoke to [the detective]

   at the police station.”). The defendant also argues that he was coerced. The

   undersigned finds no evidence of coercion. The detectives did not draw their weapons

   at the defendant, make any threats or physically harm the defendant. Of note, the

   defendant made no inculpatory statements during his post-arrest interview suggesting

   that the defendant’s will was not overborne by the detectives. The fact that the

   defendant did not finish high school is also insufficient to conclude that his statements

   were involuntary. Although Dr. Holmes opined that the defendant suffers from a verbal

   learning disability, the defendant had no difficulty responding to the detectives’ verbal

   inquiries at his post-arrest interview and testifying at the suppression hearing in the

   instant case. Moreover, “[t]he Eleventh Circuit] ha[s] held previously, ‘‘coercive police

   activity is a necessary predicate to a finding that the confession by a person with a low


          12
            The defendant had his head down at the beginning of the interview but soon
   made eye contact with the detectives and responded to their questions. The defendant
   also put his head on a table during the approximate 21 minutes he was left alone in the
   interview room. Towards the end of the video the defendant keeps his head down.

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   intelligence level is involuntary.’” Hubbard, 317 F.3d at 1254 (citing Singleton v.

   Thigpen, 847 F.2d 668, 671 (11th Cir.1988)). Based on the totality of the

   circumstances, the undersigned concludes that the defendant’s post-arrest statements

   to law enforcement were made knowingly and voluntarily. Thus, the Defendant Davis’

   Motion to Suppress Statements (DE#125, 6/1/11) should be DENIED.

   B.       Motion to Suppress Physical Evidence (DE# 126)

            The defendant also seeks to suppress the photograph of the defendant’s hand

   taken by the detectives and the defendant’s DNA sample. The defendant argues that

   this evidence must be suppressed because the consent in this case was not voluntary:

   “[b]efore obtaining the defendant’s purported consent, the officers repeatedly and

   systematically violated his Miranda rights, his constitutional rights to silence and

   counsel, as well as his due process right to be free from a coerced involuntarily

   interrogation.” See Defendant Davis’ Motion to Suppress Physical Evidence (DE# 126,

   6/1/11).

            In its response, the government argued that “the question of whether or not the

   defendant consented to the DNA sampling, or whether his consent was voluntary[] is . .

   . beside the point” because “Florida law requires that ‘[e]ach qualifying offender shall

   submit a DNA sample at the time he or she is booked into a jail, correctional facility, or

   juvenile facility.’” Government’s Response to Defendant’s Motion to Suppress Physical

   Evidence (DE# 142 at 10-11, 6/24/11) (citing Fla. Stat. § 943.325(3)(a)) (alteration in

   original). The government then argued that the Florida statute is constitutional. Id. at

   11-13.

            “A fundamental principle of constitutional law dictates that a federal court should

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   refuse to decide a constitutional issue unless a constitutional decision is strictly

   necessary.” Cone Corp. v. Florida Dept. of Transp., 921 F.2d 1190, 1210 (11th Cir.

   1991) (citations omitted); see also PVC Windoors, Inc. v. Babbitbay Beach Const.,

   N.V., 598 F.3d 802, 807 (11th Cir. 2010) (stating that “federal courts are duty bound to

   avoid a constitutional question if answering the question is unnecessary to the

   adjudication of the claims at hand”). Thus, the Court must first determine if the

   defendant consented to producing the DNA sample. If there was consent, the Court

   does not need to determine the constitutionality of the state statute. If there was no

   consent, the Court will need to determine if there would have been inevitable discovery.

   Finally, only if the Court determines that there was no consent and no inevitable

   discovery, should the Court address the constitutionality of the state statute.13

          “[G]eneral[ly,] . . . warrantless searches are per se unreasonable under the

   Fourth Amendment-subject only to a few specifically established and well-delineated

   exceptions.” United States v. Gonzalez, 71 F.3d 819, 825 (11th Cir.1996) (quotations

   omitted). “[I]t is well settled that one of the specifically established exceptions to the

   requirements of both a warrant and probable cause is a search conducted pursuant to

   consent to search.” Id. at 827. The government has the burden of proving that consent

   to search was given voluntarily, as an independent act of free will and not mere

   acquiescence to police authority. Florida v. Royer, 460 U.S. 491 (1983). To be

   considered voluntary, a consent to search must be the product of an essentially free

   and unconstrained choice. United States v. Garcia, 890 F.2d 355, 360 (11th Cir. 1989).

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           At the August 19, 2011 evidentiary hearing, the government agreed that the
   Court should not address the constitutionality of the state statute first. See Transcript
   (DE# 205 at 5, 9/22/11).

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   Whether consent was in fact voluntary or a product of express or implied duress or

   coercion is to be determined by the totality of the circumstances. United States v.

   Mendenhall, 446 U.S. 544 (1980). Here, the defendant consented to providing the DNA

   sample and to having his hand photographed. The defendant was presented with a

   Consent to Provide DNA Sample for Lab Analysis form (Government’s Exhibit 4). The

   form was read to the defendant. The form specifically advised the defendant that he

   had a right to refuse to give the DNA sample. The defendant appeared to understand

   the meaning of the form and the defendant voluntarily signed the form. No threats were

   made to the defendant and the defendant was not otherwise coerced into signing the

   form. The fact that the detectives violated the defendant’s Miranda rights during the

   post-arrest interview does not invalidate the defendant’s subsequent consent to provide

   the DNA sample or his verbal consent to the photograph. See United States v. Hidalgo,

   7 F.3d 1566, 1568 (11th Cir. 1993) (finding defendant’s consent valid even though it

   was obtained after the defendant had been given Miranda warnings and had invoked

   his right to remain silent).

          Even assuming, arguendo, that the defendant did not voluntarily consent to

   providing the DNA sample, the undersigned concludes that the DNA sample should not

   be suppressed under the inevitable discovery doctrine.

          In order for evidence to qualify for admission under th[e inevitable
          discovery] exception to the exclusionary rule, there must be a reasonable
          probability that the evidence in question would have been discovered by
          lawful means, and the prosecution must demonstrate that the lawful
          means which made discovery inevitable were being actively pursued prior
          to the occurrence of the illegal conduct.

   Jefferson v. Fountain, 382 F.3d 1286, 1296 (11th Cir. 2004). The government must



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   demonstrate the applicability of the inevitable discovery doctrine by a preponderance of

   the evidence. United States v. Drosten, 819 F.2d 1067, 1070 (11th Cir. 1987). Here,

   prior to the defendant’s arrest, law enforcement officers knew that the bloodstains in the

   back seat of the BMW belonged to two different individuals. Law enforcement officers

   knew from speaking to Michael Martin that the defendant was involved in the jewelry

   store robbery. Law enforcement officers also knew from reviewing the surveillance

   video of the jewelry store robbery that Mr. Martin and the defendant sat in the backseat

   of the BMW where the bloodstains were found and that the defendant broke the glass

   casings inside the jewelry store using a sledgehammer. Thus, at the time of the

   defendant’s arrest, law enforcement officers had sufficient evidence to support a search

   warrant for the defendant’s DNA. Additionally, the officers had planned on obtaining a

   search warrant if the defendant did not provide consent. At the evidentiary hearing,

   Detective Anderson testified as follows:

         Q. Would it be fair to say that the reason you wanted him to consent to
         give DNA on December 23rd, 2010 was that you wouldn't get it otherwise
         on that today?

         A. No, that's not true. I had told Mr. Davis that I would get a warrant from
         the Judge to get a sample of his DNA.

         Q. That day?

          A. I would have went and got it that day, yes.

                                     *        *        *

         Q. He didn't do that until Sergeant McCardle went over there and came
         back and told you. Did you start doing that DNA warrant thing, or were you
         doing the jail paperwork?

         A. I was doing the jail paperwork.



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          Q. So you weren't going to get a warrant, were you?

          A. I would have.

          Q. But not that day?

          A. I would have, yes.

   See Transcript of August 19, 2011 Hearing (DE# 205 at 82-83, 9/22/11) (emphasis

   added). During the December 23, 2010 post-arrest interview, the detectives also told

   the defendant that if he did not provide consent, they would obtain a search warrant for

   his DNA. See Transcript of Post-Arrest Interview (DE# 183-1 at 35-36, 8/23/11). The

   undersigned concludes that the government has met its burden under the inevitable

   discovery doctrine.

          Similarly, even if the defendant’s consent to having his hand photographed is

   invalid, the photograph should not be suppressed because the defendant had no

   legitimate expectation of privacy in his hand. The Supreme Court has observed that:

          The physical characteristics of a person's voice, its tone and manner, as
          opposed to the content of a specific conversation, are constantly exposed
          to the public. Like a man's facial characteristics, or handwriting, his voice
          is repeatedly produced for others to hear. No person can have a
          reasonable expectation that others will not know the sound of his voice,
          any more than he can reasonably expect that his face will be a mystery to
          the world.

   United States v. Dionisio, 410 U.S. 1, 14 (1973). Here, the defendant “can[not]

   reasonably expect that his [hand] will be a mystery to the world.” Id.

          In sum, the undersigned concludes that the Defendant Davis’ Motion to

   Suppress Physical Evidence (DE# 126, 6/1/11) be DENIED because the defendant

   consented to providing a DNA sample and having his hand photographed by the

   detectives. Even if the defendant’s consent was invalid, the DNA sample should not be

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   suppressed under the doctrine of inevitable discovery and the photograph should not

   be suppressed because the defendant had no legitimate expectation of privacy in his

   hand. Accordingly, the undersigned does not reach the constitutionality of the state

   statute.

                                     RECOMMENDATION

          For the foregoing reasons, the undersigned recommends that Defendant Davis’

   Motion to Suppress Statements (DE#125, 6/1/11) and Defendant Davis’ Motion to

   Suppress Physical Evidence (DE# 126, 6/1/11) be DENIED. Pursuant to 28 U.S.C.

   §636(b)(1)(B) and (c), the parties may serve and file written objections to this Report

   and Recommendation with the Honorable Joan A. Lenard, United States District Judge,

   within fourteen (14) days of receipt of a copy of this Report and Recommendation. See

   Nettles v. Wainwright, 677 F. 2d 404 (5th Cir. 1982).

          RESPECTFULLY SUBMITTED at the United States Courthouse, Miami, Florida

   this 30th day of September, 2011.



                                            _________________________________
                                            JOHN J. O’SULLIVAN
                                            UNITED STATES MAGISTRATE JUDGE


   Copies provided to:
   United States District Judge Lenard
   All counsel of record




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